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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

  Civil Action No.

  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.

  $442,576.45 SEIZED FROM COMMERCIAL FEDERAL BANK ACCOUNTS; and

  $7,200.00 IN U.S. CURRENCY,

              Defendants.
  ______________________________________________________________________________

                  VERIFIED COMPLAINT FOR FORFEITURE IN REM
  ______________________________________________________________________________

         The United States of America, by and through United States Attorney William J. Leone

  and Assistant United States Attorney James S. Russell, pursuant to Supplemental Rules for

  Admiralty and Maritime Claims C(2), files this Verified Complaint and states:

                                   JURISDICTION AND VENUE

         1.      The United States of America (the “United States”) has commenced this action

  pursuant to the civil forfeiture provisions of 18 U.S.C. §981, seeking forfeiture of the defendant

  properties as involved in and as the proceeds of violations of 18 U.S.C. §1341 (mail fraud),

  §1343 (wire fraud), §1344 (bank fraud), and §1956 and §1957 (money laundering).        This Court

  has jurisdiction under 28 U.S.C. §§1345 and 1355.

         2.      Venue is proper under 18 U.S.C. § 981(h), 19 U.S.C. §1605, and 28 U.S.C.

  §1395, as the defendant properties are located, and most of the acts described herein occurred, in

  the District of Colorado.
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                                    DEFENDANT PROPERTY

         3.      The defendant property is more fully described as:

                 a. $442,576.45 seized pursuant to a Federal Seizure Warrant issued in District of

  Colorado Case Number 05-MC-00072, from Commercial Federal Bank, 953 Swede Gulch,

  Golden, Colorado accounts controlled by Shaun Rosiere, hereinafter defendant Bank Account

  Monies; and

                 b. $7,200.00 seized pursuant to Federal Search Warrants issued in District of

  Colorado Case Numbers 05-5250M and 05-5255M from a safe located in the residence of Shaun

  Rosiere, 1969 Sinton Road, Evergreen, Colorado, hereinafter defendant Currency.

                              FACTUAL BASIS FOR FORFEITURE

         Except as otherwise noted, all of the following facts and information have been

  discovered through my own investigation and observations, and the observations and

  investigations of fellow law enforcement officers as reported to me.

         4.      In January of 2005, the United States Postal Inspection Service became involved

  in an investigation of Shaun Rosiere, who was using several names and social security numbers

  fraudulently to obtain credit cards and who was fraudulently depositing unauthorized bank drafts

  into his bank accounts.

         5.      On June 21, 2005, Postal Inspector Brandon Lewis went to Rosiere’s home to

  interview him regarding the fraudulent credit cards. Rosier indicated he had written numerous

  books and one of his books had sold 30,000 copies. Rosiere claimed to have written a book

  titled, How to Repair Your Personal Credit. Rosiere also claimed he had incorporated nearly


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  2,000 entities in Colorado and Nevada, utilizing Business Center Solutions, Inc. one of his newer

  corporations. He claimed to have a wide variety of businesses, including gold mining claims,

  stock investments, incorporating businesses for others, and designing drugs. Rosiere told the

  inspector that he incorporates an entity, using his social security number to obtain an Employer

  Identification Number, and obtaining a “Dunn Number” from Dunn and Bradstreet. Once all the

  identifiers have been obtained, Rosiere writes a corporate resolution granting him authority to

  open business bank accounts and to apply for lines of credit on behalf of the corporations. He

  then applies for credit at Office Depot, Staples, and Office Max. He also told the inspector that

  he also obtains lines of credit from Home Depot, Radio Shack, and Corporate Express. He

  pointed to two computers on his desk and told the inspector that he had recently purchased them

  on one of his corporate accounts with Dell Computers. He told the inspector that he has

  approximately 50 credit cards stored in lockboxes at various local banks.

         6.      Rosiere was shown a Lowe’s Credit Application, in the name of Shaun Rosiere II

  (2nd). Rosiere claimed that his cousin had filed out the application and that he had not filled it

  out. He was shown a second Lowe’s Credit Application in the name of Shaun Rosiere III (3rd),

  and he claimed that too was his cousin. He went on to claim that he had cousins named Shaun

  Rosiere II (2nd) through Shaun Rosiere XXXV (35th). Rosiere refused to schedule an

  appointment to provide handwriting exemplars to be submitted for analysis and asked the

  inspector to leave. Rosiere told the inspector that his property was officially declared to be an

  independent nation, and that the inspector or any federal agents were not allowed on the property.

         7.      On July 22, 2005, a Senior Fraud Investigator for Commercial Federal Bank

  contacted the United States Postal Inspection Service regarding fraudulent drafts from Shaun


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  Rosiere that had been deposited into numerous bank accounts at Commercial Federal Bank.

         8.      Analysis of the records of Commercial Federal Bank revealed that on or about

  May 18, 2005, Shaun Rosiere opened 44 corporate bank accounts at Commercial Federal Bank at

  953 Swede Gulch, Evergreen, Colorado. Rosiere registered all the entities with the Colorado

  Secretary of State on March 31, 2005 and April 1, 2005. On May 18, 2005, Rosiere withdrew

  $4,400.00 from his Commercial Federal account in the name of Shaun Rosiere Mortgage Inc. and

  made $100 deposits into each of the 44 accounts.

         9.      Commonly paper bank drafts are used to facilitate commercial business

  transactions and payments and are created when the payor authorizes a payee to draw an amount

  from the bank account of the payor. The payor provides the payee with the necessary

  information, such as the bank name, routing number, account number, and name and address of

  the payor, and authorizes the payee to utilize a bank draft to draw funds from the bank account of

  the payor. Once a payee obtains this authorization and the required information to create a draft

  the payee may print a paper draft payable to it. Since the payee prints the draft, the draft does not

  contain the payor’s signature like a regular paper check. The signature may have a stamp which

  reads: “Your depositor has authorized this payment to payee. Payee to hold you harmless for

  payment of this document. This document shall be deposited only to credit of Payee. Absence of

  endorsement is guaranteed by payee.” The payee, having been authorized by payor, deposits the

  draft into its bank, and the amount of the draft is credited to the account of the payee. The bank

  of the payee then presents the draft to the bank of the payor. The bank of the payor transfers the

  funds to the bank of the payee, while debiting its account of the payor. Shaun Rosiere utilized

  this bank draft systems to perpetuate the fraud.


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         10.     Bank records revealed that beginning June 30, 2005 and ending July 5, 2005,

  Rosiere deposited 14,980 drafts, totaling $1,483,020.00, into 12 of his Commercial Federal Bank

  accounts. Each draft was for $99.00. All of the drafts had the following common characteristics:

  (1) printed on a light purple, perforated paper, (2) check number 1001, and (3) “Real Estate

  Riches” printed on the memo line.

         11.     On July 6, 2005, Commercial Federal Bank Corporate Security placed a hold on

  all 44 of Rosier’s business accounts because numerous drafts had been returned for non-

  sufficient funds, no account found, closed account, refer to maker, invalid routing number, and

  stolen. In addition the bank received complaints from other banks, which included forgery

  affidavits from the customers detailing how the drafts, payable to one of Rosiere’s companies,

  drawn on their bank accounts were not authorized.

         12.     Commercial Federal Bank has determined that as of August 4, 2005 at least 8,126

  items, totaling over $800,000 had been returned.

         13.     Rosiere told the bank that he received the drafts as payments for books he was

  selling through a telemarketing company. He claimed people ordered his book through a call

  center or over the internet. Rosiere could not provide the name of his book nor could he describe

  how one could purchase his book on the internet. Rosiere acknowledged that upwards of 30

  percent of the drafts he deposited could be invalid and said he was willing to give the money

  back to the customers who did not order his book. During another conversation Rosiere

  indicated to the bank that Palms Processing is the company he had contracted to sell his books

  and that they sent him the $99 drafts as a fee they owed him due to copyright laws. He claimed

  that Palms Processing told him another 7 million in sales of his books were pending. Rosiere said


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  he believed that only 5,000 of the 15,000 drafts might be returned to Commercial Federal Bank

  for fraudulent reasons. During a third conversation Rosiere now claimed he no longer was doing

  business with Palms Processing, he no longer fully owned the 12 companies, and that he had

  signed a contract selling a percentage of the companies to Palms Processing. Rosier went on to

  say that Palms Processing would be contacting Commercial Federal to provide information on

  the accounts.

         14.      A woman identifying herself as “Brigette Freyermuth” contacted Commercial

  Federal Bank and indicated that she was one of the owners of Palms Processing, a telemarketing

  company that has been in existence for over 15 years. “Freyermuth” said she had only talked

  with Rosiere by phone but her business partner, Robert knew and agreed to work with Rosiere.

  “Freyermuth” claimed she sent contracts to Rosiere for him to sign so Palms Processing could

  purchase the 12 business accounts at Commercial Federal Bank. She indicated that Palms

  Processing was selling book kits that contained a book about real estate riches, a book about ID

  theft, and a book about credit repair. She claims she received orders from a distributor and was

  unaware of who authored the books. She also indicated that Rosiere requested all drafts be sent

  to him from the printer. She would not provide her phone number and then claimed her cell

  phone was dying.

         15.      Investigators contacted JKST Services, a printing company in Wisconsin. Their

  records revealed that on June 22, 2005, a customer filled out an order form on their website for

  drafts to be printed. The order was incomplete and JKST talked with “Brigette Freyermuth”

  regarding the online order. “Freyermuth” provided the missing information and faxed the form

  back to JKST to print approximately 15,000 drafts. “Freyermuth” also provided a list of 12


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  business names with their bank account information in which the drafts were to be deposited.

  “Freyermuth” directed JKST to FedEx the drafts to 1969 Sinton Road, Evergreen, Colorado, the

  residence of Rosiere. JKST shipped the drafts but never received payment. Federal Express

  records revealed that two of the packages were signed for by someone using the last name

  Rosiere.

         16.    In furtherance of Rosiere’s scheme to hide his fraud proceeds, Rosiere conducted

  numerous financial transactions. On July 5, 2005, Rosiere withdrew $70,572.00 from five of his

  Commercial Federal Bank accounts and deposited the funds into his Commercial Federal

  Business Center Solutions account. He then withdrew $66,045.00 from the Business Center

  Solutions account and wired $38,000 to a Washington Mutual Bank account held by his mother,

  $24,000 to a Wachovia Bank account in the name of Palms Processing, and $4,000 to a Suntrust

  Bank account in the name of John Hiley. This last wire was immediately returned to Commercial

  Federal Bank as Suntrust Bank could not locate the account number. The next day, July 6, 2005

  Rosiere withdrew $56,855 from four of his Commercial Federal Bank accounts and deposited the

  funds into his Business Center Solutions account. That same day, Wachovia Bank returned the

  $24,000 wire Rosiere had completed to Palms Processing because of an invalid account number.

  Rosiere then withdrew $85,030 from his Business Center Solutions account and wired $72,000 to

  the same Wachovia Bank account for Palms Processing, $4,000 to the same Suntrust Bank

  account, and withdrew $9,000 in cash.

         17.    The investigation by the United States Postal Inspection Service and the bank

  have revealed that the drafts Rosiere deposited into the Commercial Federal Bank accounts were

  fraudulent, and were not authorized by the makers whose names appeared thereon. Rosiere


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  associates in Florida had created the drafts in numerous makers’ names, drawn on the makers’

  accounts at the makers’ banks, and had made the drafts payable to Rosiere controlled entities

  which he had established to perpetuate the fraud, all without the authorization of the true makers.

         18.     On November 2, 2005, based on many of the same facts as stated herein, District

  of Colorado Magistrate Judge Craig B. Shaffer issued a search warrant in Case Number 05-

  5250M for Rosiere’s residence, and on November 3, 2004 a civil seizure warrant in Case

  Number 05-MC-00072 for the Commercial Federal Bank Accounts, defendant Bank Account

  monies. On November 7, 2005 law enforcement executed a Federal Search Warrant issued at the

  residence of Shaun Rosiere. Agents found four stacks of undeposited drafts similar to the drafts

  Rosier used in his scheme; each draft was for $99.00 and payable to one of Rosier’s companies.

  Agents also seized numerous Commercial Federal Bank statements to the various companies

  Rosiere used in his scheme. Agents seized a locked safe from the residence. Pursuant to

  executing a second search warrant in Case Number #05-5255M, agents opened the safe seized

  from Rosier’s residence. Some of the contents of the safe included defendant $7,2000 currency,

  4 audio cassette tapes, and documents that bore the name Brigette Freyermuth. The audio

  cassette tapes are recordings of Rosier’s telephonic conversations with his accomplices and other

  individuals related to his scheme. In addition agents also found heroin in the residence. The

  United States incorporates herein by reference the two search warrants, seizure warrant, and

  supporting affidavits.

         19.     In summary, Rosiere fraudulently set up numerous corporations with the Colorado

  Secretary of State for the sole purpose of obtaining corporate documents to give his corporations

  the appearance of legitimacy and validity. Rosiere would then fraudulently create corporate


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  resolutions allowing him to obtain credit and open bank accounts in the name of the corporations.

  Using the corporate documents, Rosiere obtained credit from local merchants in the name of the

  corporations and purchased office products such as computers. Using the corporate documents

  Rosiere opened 44 bank accounts at Commercial Federal Bank. Once the bank accounts were

  opened Rosiere obtained the fraudulent 15,000 bank drafts he had created in numerous makers’

  names, drawn on the makers’ accounts at the makers’ banks, and made payable to Rosiere

  controlled entities which he had established to perpetuate the fraud, all without the authorization

  of the true makers. In such a fraudulent manner, Rosiere caused at least $1,483,020.00 of

  illegally obtained funds to be deposited into his accounts at Commercial Federal Bank. In an

  attempt to conceal or disguise the nature and ownership of the illegal proceeds derived from his

  scheme, Rosiere withdrew funds, deposited funds into other accounts, and wire transferred funds

  to accounts in the names of others. In addition to depositing the money from the fraud scheme

  into his accounts Rosiere hid some of the fraud proceeds in a safe in his residence. These funds,

  defendant Bank Account Monies and defendant Currency, have been seized pursuant to federal

  warrants. As such the defendant Bank Account Monies seized from the Commercial Federal

  Bank accounts and defendant Currency seized from the safe constitute the proceeds of mail, wire,

  and bank fraud in violation of 18 U.S.C. §§§1341, 1343, 1344, and are involved in violations of

  18 U.S.C. §§1956 and 1957, and therefore are subject to seizure and forfeiture pursuant to 18

  U.S.C. §981, 18 U.S.C. §1956(c)(7), 18 U.S.C. §1961(1), and 28 U.S.C. §2461.




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        VERIFICATION OF BRANDON LEWIS, UNITED STATES POSTAL INSPECTOR

          I, Postal Inspector Brandon Lewis, hereby state and aver that I have read the foregoing

   Factual Basis for Forfeiture and that the facts and information contained therein are true to the

   best of my knowledge and belief.



                                                         s/ Brandon Lewis
                                                         Brandon Lewis

   STATE OF COLORADO        )
                            )ss
   CITY AND COUNTY OF DENVER)


          The foregoing was acknowledged before me this 20th day of December, 2005, by

   Brandon Lewis, United States Postal Inspection Service.

                                                         s/ Pamela S. Jebens
                                                         Notary Public

   My Commission Expires: 2-2-2008



                                      FIRST CLAIM FOR RELIEF

          19.     The Plaintiff repeats and incorporates by reference the paragraphs above.

          20.     By the foregoing and other acts, defendant Bank Accounts Monies are the

   proceeds of mail fraud in violation of 18 U.S.C. §1341,and therefore are forfeited to the United

   States under 18 U.S.C. §981(a)(1)(C), 18 U.S.C. §1956(c)(7), and 18 U.S.C. §1961(1).



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                                   SECOND CLAIM FOR RELIEF

          21.     The Plaintiff repeats and incorporates by reference the paragraphs above.

          22.     By the foregoing and other acts, defendant Bank Accounts Monies are the

   proceeds of wire fraud in violation of 18 U.S.C. §1343 and therefore are forfeited to the United

   States under 18 U.S.C. §981(a)(1)(C), 18 U.S.C. §1956(c)(7), and 18 U.S.C. §1961(1).

                                    THIRD CLAIM FOR RELIEF

          23.     The Plaintiff repeats and incorporates by reference the paragraphs above.

          24.     By the foregoing and other acts, defendant Bank Accounts Monies are the

   proceeds of bank fraud in violation of 18 U.S.C. §1344 and therefore are forfeited to the United

   States under 18 U.S.C. §981(a)(1)(C).

                                   FOURTH CLAIM FOR RELIEF

          25.     The Plaintiff repeats and incorporates by reference the paragraphs above.

          26.     By the foregoing and other acts, defendant Currency is the proceeds of mail fraud

   in violation of 18 U.S.C. §1341 and therefore is forfeited to the United States under 18 U.S.C.

   §981(a)(1)(C), 18 U.S.C. §1956(c)(7), and 18 U.S.C. §1961(1).

                                    FIFTH CLAIM FOR RELIEF

          27.     The Plaintiff repeats and incorporates by reference the paragraphs above.

          28.     By the foregoing and other acts, defendant Currency is the proceeds of wire fraud

   in violation of 18 U.S.C. §1343 and therefore is forfeited to the United States under 18 U.S.C.

   §981(a)(1)(C), 18 U.S.C. §1956(c)(7), and 18 U.S.C. §1961(1).

                                    SIXTH CLAIM FOR RELIEF

          29.     The Plaintiff repeats and incorporates by reference the paragraphs above.


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          30.       By the foregoing and other acts, defendant Currency is the proceeds of bank fraud

   in violation of 18 U.S.C. § 1344 and therefore is forfeited to the United States under 18 U.S.C.

   §981(a)(1)(C).

                                    SEVENTH CLAIM FOR RELIEF

          31.       The Plaintiff repeats and incorporates by references the paragraphs above.

          32.       By the foregoing and other acts, defendant Bank Account Monies were involved

   in money laundering violations of 18 U.S.C. §1956, and therefore are forfeited to the United

   States pursuant to 18 U.S.C. § 981(a)(1)(A).

                                      EIGHT CLAIM FOR RELIEF

          32.       The Plaintiff repeats and incorporates by references the paragraphs above.

          33.       By the foregoing and other acts, defendant Bank Account Monies were involved

   in money laundering violations of 18 U.S.C. §1957, and therefore are forfeited to the United

   States pursuant to 18 U.S.C. § 981(a)(1)(A).

          WHEREFORE, the United States prays for entry of a final order of forfeiture for the

   defendant property in favor of the United States, that the United States be authorized to dispose

   of the defendant property in accordance with law, and that the Court enter a finding of probable

   cause for the seizure of the defendant property and issue a Certificate of Reasonable Cause

   pursuant to 28 U.S.C. §2465.




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   Dated this 20th day of December, 2005.
                                            Respectfully submitted

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                                            United States Attorney

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